      Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 1 of 13



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MERCER HEALTH & BENEFITS LLC,

                 Plaintiff,
                                               Case No.: 18 Civ. 1805 (JGK)
          -against-

MATTHEW DIGREGORIO, JOANNE STEED,
JADA PRESTON and LOCKTON COMPANIES,
LLC,

                 Defendants.




        PLAINTIFF’S REPLY MEMORANDUM IN FURTHER SUPPORT
           OF ITS MOTION FOR A PRELIMINARY INJUNCTION




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             Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 2 of 13




                                                    TABLE OF CONTENTS

                                                                                                                                        PAGE

PRELIMINARY STATEMENT ................................................................................................... 1

SUPPLEMENTAL STATEMENT OF FACTS ............................................................................ 2

          A.         Lockton’s Structure and Recruitment of the Individual Defendants ..................... 2

          B.         The Individual Defendants’ Discussions About Joining Lockton ......................... 3

          C.         Individual Defendants’ Retention of Confidential Mercer Material...................... 3

          D.         The Individual Defendants’ Targeted Outreach to Mercer Clients ....................... 5

          E.         Lockton’s Evaluation of the Individual Defendants’ Agreements with
                     Mercer .................................................................................................................... 5

          F.         Lockton’s Retention of Counsel for the Individual Defendants ............................ 6

ARGUMENT ................................................................................................................................. 6

I.        MERCER IS ENTITLED TO INJUNCTIVE RELIEF GIVEN DEFENDANTS’
          RETENTION OF CONFIDENTIAL INFORMATION AND SOLICITATIONS ........... 7

II.       LOCKTON IS A PROPER PARTY TO THIS ACTION ................................................. 8

          A.         Lockton is Connected to the Subject Matter of this Dispute ................................. 8

          B.         Mercer is Likely to Succeed on the Merits of its Claims against Lockton ............ 8

III.      THE REQUESTED RELIEF IS APPROPRIATELY TAILORED TO PROTECT
          MERCER’S INTERESTS ............................................................................................... 10

CONCLUSION ............................................................................................................................ 10




                                                                      -i-
            Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 3 of 13



                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Eastern Bus. Sys., Inc. v. Specialty Bus. Solutions,
   292 A.D.2d 336 (2d Dep’t 2002) ...............................................................................................7

FMC Corp. v. Taiwan Tainan Giant Indus. Co. Ltd.,
  730 F.2d 61 (2d Cir. 1984).........................................................................................................7

Giffords Oil Co., Inc. v. Wild,
    106 A.D.2d 610 (2d Dep’t 1984) ...............................................................................................7

Leo Silfen, Inc., v. Cream,
   29 N.Y.2d 387 (1972) ................................................................................................................7

PLC Trenching Co., LLC v. Newton,
  No. 6:11-CV-0515, 2011 WL 13135653 (N.D.N.Y. Dec. 12, 2011) ........................................9




                                                                    i
          Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 4 of 13




                                   PRELIMINARY STATEMENT

        In its moving brief (“Mercer Mem.”), Mercer established that the Individual Defendants, 1

and their current employer Lockton, 2 have breached each Individual Defendant’s Non-

Solicitation and Confidentiality Agreement with Mercer, causing Mercer irreparable injury.

Specifically: i) while employed at Mercer, each Individual Defendant gained valuable, non-

public information about Mercer’s clients, prospects and business strategies; and ii) following

their January 17, 2018 departure from Mercer, the Individual Defendants took this confidential

information with them to Lockton, used it to contact Mercer clients in breach of their respective

Agreements and actually persuaded at least one Mercer client to take its business to Lockton.

        In their opposition brief (“Def. Mem.”) and Declarations, Defendants principally assert

that Mercer has failed to identify any confidential information, that they took no confidential

information from Mercer, and that Lockton should not be a party to this action. These assertions

have proven to be disingenuous at best, and false at worst. During their depositions, the

Individual Defendants admitted that before resigning, and during their recruitment by Lockton,

they emailed numerous documents containing hundreds of pages of confidential information

concerning Mercer’s client pricing, client contact information, market intelligence, past activity

reports and targeting of prospects to their personal email accounts The Individual Defendants

also admitted that they engaged in targeted solicitations of Mercer clients, including at least five

meetings with Mercer clients during which they discussed Lockton’s capabilities. In addition, the

Individual Defendants have admitted that Lockton employees were intimately involved in

recruiting them and negotiating their employment agreements, and that Lockton has retained


1
 For the Court’s convenience, terms defined in Mercer’s moving papers are used herein as defined therein.
2
 The term “Lockton” as used in this brief and supporting declaration includes Defendant Lockton Companies, LLC,
Lockton, Inc. and Lockton Southeast Series LLC.
           Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 5 of 13



counsel for them and indemnified them in this action, providing abundant reason for Lockton to

remain a defendant in this action. Defendants’ contradictory statements in discovery show that

the Court cannot simply take them at their word. Rather, Defendants’ conduct has caused Mercer

irreparable harm in the form of lost client relationships, goodwill and other injuries for which

there is no adequate remedy at law, and their now-apparent efforts to conceal this conduct should

not be rewarded.

                           SUPPLEMENTAL STATEMENT OF FACTS 3

         A.       Lockton’s Structure and Recruitment of the Individual Defendants

         Lockton began recruiting DiGregorio in September 2017. Weber Decl. Ex. A at 28-31.

Manoj Sharma, Lockton’s Rule 30(b)(6) witness, personally recruited DiGregorio beginning in

September 2017. Weber Decl. Ex. G at 12-13. Aside from Sharma, DiGregorio met with

Lockton Executives Hiram Marrero, Page Crozer, Doug Hutcherson, Neil Metzheiser and Rick

Elliott numerous times in September and October 2017. Weber Decl. Ex. A at 28, 31, 43-44, 48-

50; Ex. G at 14, 16-18, 20, 29. DiGregorio also met with a “handful” of individuals in Kansas

City, Missouri, where Lockton is headquartered. Weber Decl. Ex. A at 48-50. Sharma and

Marrero also recruited Steed and Preston beginning in or about November 2017. Weber Decl.

Ex. C at 31-34; Ex. E at 22-24; Ex. G at 31.

         While Lockton claims that it “lacks any connection to the subject matter of this dispute”

(Def. Mem. at 5), in fact, Sharma, Marrero, Crozer, Hutcherson and Metzheiser are described in

publicly available documents, including in their own LinkedIn profiles, as employees of

“Lockton,” “Lockton Companies,” or “Lockton Companies, LLC.” Weber Decl. Exs. H, I.

Sharma further testified that he presumes that Trey Humphrey, in-house counsel for Lockton,

3
 Pursuant to the Court’s March 1, 2018 Order, Plaintiff deposed Defendants on March 9, 2018. This Supplemental
Statement of Facts is limited to those depositions and their exhibits, and to otherwise publicly available materials,
which all are attached as exhibits to the accompanying Reply Declaration of A. Michael Weber (“Weber Decl.”).




                                                         -2-
         Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 6 of 13



Inc., would have discussed DiGregorio’s non-solicitation restrictions with him during the hiring

process, potentially during DiGregorio’s Kansas City meetings. Weber Decl. Ex. G at 29.

Sharma explained that there is an “overall, overarching Lockton umbrella,” and that the Lockton

parent entity receives 10 percent of the revenues of the Lockton Series entities in exchange for

providing them with legal, financial, employee benefits and technical resources. Weber Decl. Ex.

G at 8. Lockton Companies, LLC is a proper party in this action.

       B.     The Individual Defendants’ Discussions About Joining Lockton

       During his recruitment process, DiGregorio told Steed and Preston that he was

considering joining Lockton, and also provided Lockton with Steed and Preston’s contact

information. Weber Decl. Ex. A at 53-54, 58-62; Ex. C at 41-43; Ex. E at 18-19. From on or

before November 2017 to January 2018, Steed and Preston met repeatedly with Sharma and

Marrero. Weber Decl. Ex. C at 31-36; Ex. E at 16-24. Steed recalls DiGregorio telling her that he

was going to go to Lockton before he actually resigned, and she herself spoke more than five

times with Preston during the same period about going to Lockton. Weber Decl. Ex. C at 41-43.

Further, the Individual Defendants conferred about the date and sequence in which they would

resign from Mercer – first DiGregorio, then Steed, then Preston. Weber Decl. Ex. C at 44-45; Ex.

A at 181-82; Ex. E at 26-27.

       C.     Individual Defendants’ Retention of Confidential Mercer Material

       Prior to their depositions, each Individual Defendants declared, in identical language: “I

did not retain any documents concerning client pricing, preferences, or renewal dates.” ECF Nos.

14-16. Each also claimed, in nearly identical resignation notices, that upon resigning from

Mercer, each Individual Defendant conducted a thorough search and did not possess any

confidential Mercer material. Weber Decl., Exs. B, D, F. These statements are provably false.




                                               -3-
         Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 7 of 13



       At deposition, DiGregorio conceded that on October 11 2017, after beginning discussions

with Lockton in August/September 2017, he sent nine emails from his work account to his

personal email account. Weber Decl. Ex. A at 110-31; Ex. B. Between November 13, 2017 and

November 16, 2016, DiGregorio sent himself nine more emails from his work account to his

personal email account, and in or around that timeframe airdropped various files to his personal

computer. Weber Decl. Ex. A at 75, 82, 131-51; Ex. B. The emails DiGregorio sent to himself

contained: (i) an “Active Account Listing” marked “Confidential” containing client names

together with consultant and office assignments; (ii) a “Marsh 2017 Prospect List” spreadsheet,

containing hyperlinks to prospect company websites, leadership profiles and company news; (iii)

a “Florida Pipeline Report” marked “Confidential Information: Do Not Distribute” and

containing information about recently closed or anticipated Mercer deals; (iv) a ten-page “MMA

Florida Client List”, and (v) various other Mercer documents and communications.

       DiGregorio described why he sent himself this material: “to have access to information

relative to future clients.” Weber Decl. Ex. A at 113-14. He continued, “some of them were for

business purposes and some of them were documents I thought would be helpful in the future if I

decided to leave.” Id. at 173. Further, DiGregorio admits that he still has copies of some of these

documents in his personal email account. Id. at 159. DiGregorio became aware that he retained

these copies “around the time of the lawsuit”—i.e., before falsely stating in his Declaration that

he retained no Mercer materials other than his contact list. Id. at 162-63; DiGregorio Decl. ¶ 11.

       Steed and Preston also emailed confidential information from their work accounts to their

personal accounts during their recruitment by Lockton. During the same week that DiGregorio

sent nine emails containing confidential information from his work account to his personal

account, Steed sent herself a list of Mercer clients, including annual revenues derived from those




                                                -4-
         Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 8 of 13



clients, and a list of all Florida-based Mercer employees and their contact information. Weber

Decl. Ex. C at 76-81; Ex. D. Just one day earlier, Preston sent herself a Statement of Work for a

Mercer client, which set forth “the scope of [Mercer’s] work and the compensation for [the

engagement].” Weber Decl. Ex. E at 76-81; Ex. F.

       D.      The Individual Defendants’ Targeted Outreach to Mercer Clients

       Steed testified that she did not simply “sen[d her]self” her Mercer contact list, as stated in

her Declaration, but rather “selected” contacts to take based on her “thoughts of which ones [she]

wanted to have.” Weber Decl. Ex. C at 56; Steed Decl. ¶ 5. Further, she did not mail out a

general announcement regarding her move to Lockton; instead, on the day she resigned, Steed

individually telephoned “13 to 15” Mercer clients, told them of her move and followed up by

email with her new contact information. Weber Decl. Ex. C at 12, 17, 65-67. Earlier, in

December 2017, Steed had told the COO of Planned Parenthood, a Mercer client, that she was

thinking of moving to Lockton. Weber Decl. Ex. C at 73-74. Similarly, Preston individually

telephoned “certain” Mercer clients to tell them that she had left Mercer for Lockton. Weber

Decl. Ex. E at 48; Preston Decl. ¶ 10. Following her resignation, in clear violation of her Non-

Solicitation Agreement with Mercer, Steed met with at least five Mercer clients, with whom she

had previously worked, to “talk about Lockton[‘s] capabilities.” Weber Decl. Ex C at 17-25.

DiGregorio attended at least two of those meetings. Id. at 18, 24.

       E.      Lockton’s Evaluation of the Individual Defendants’ Agreements with Mercer

       Sharma attested that “[e]ach of the individual defendants were told not to solicit or recruit

other Mercer employees.” ECF No. 17. However, Sharma testified that he “do[es] not believe”

that anyone asked DiGregorio “about any restrictions he had on joining Lockton,” but simply

presumes that Trey Humphrey, who is in-house counsel for Lockton Companies, Inc., would

have asked DiGregorio about such restrictions. Weber Decl. Ex. G at 27, 29, 46-48. Meanwhile,



                                                -5-
         Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 9 of 13



the Individual Defendants do not recall anyone asking them about non-solicitation obligations;

DiGregorio recalls telling Lockton that he did not know whether he had any restrictions, and

Steed and Preston are not sure what restrictions their Mercer Non-Solicitation Agreements

impose. Weber Decl. Ex. A at 52; Ex. C at 26-27; Ex. E at 26.

       F.      Lockton’s Retention of Counsel for the Individual Defendants

       Lockton retained Lyle Shapiro, Esq. as counsel for the Individual Defendants in or about

October 2017 – nearly three months before they resigned their positions at Mercer. Weber Decl.

Ex. A at 67; C at 15. Attorney Shapiro met with each of the Individual Defendants in person in

early December 2017, and later advised each of them concerning the resignation letters they

submitted to Mercer on January 17, 2018. Weber Decl. Ex. A at 67-68; Ex. C at 44; Ex. E at 26-

27. Lockton is paying each of the Individual Defendants’ attorneys’ fees in this action, pursuant

to indemnification and hold harmless clauses in their respective agreements with Lockton.

Weber Decl. Ex. A at 6-9; Ex. C at 8; Ex. C at 8; Ex. E at 22-23.

                                          ARGUMENT

       Defendants do not dispute the legal standard for granting injunctive relief. (Def. Mem. at

5). Rather, they contend that the Individual Defendants retained no confidential Mercer

information when they after resigning (Def. Mem. at 5-11) and claim that Lockton is not an

appropriate party to this action (id. at 12). Both assertions are flatly untrue. As described above,

the Individual Defendants retained volumes of information regarding Mercer’s clients, pricing

and targeting strategies after leaving Mercer; such material was clearly protected by the

Individual Defendants’ Agreements and by applicable law, and Mercer will suffer irreparable

injury if Defendants are not enjoined from further violations of their Agreements. Second,

Lockton employees actively recruited the Individual Defendants, and Lockton is indemnifying

them in this action. Lockton therefore should remain a party to this action.



                                                -6-
        Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 10 of 13



I.     MERCER IS ENTITLED TO INJUNCTIVE RELIEF GIVEN DEFENDANTS’
       RETENTION OF CONFIDENTIAL INFORMATION AND SOLICITATIONS

       Defendants contend that on leaving Mercer, the Individual Defendants retained only their

own contact lists and complain that Mercer has failed to specify what confidential information is

at issue. Def. Mem. at 4. This argument has succumbed to the barest minimum of discovery, as

DiGregorio concedes that he sent to himself, and failed to delete, Mercer documents comprising

not only lists of client and prospect names, but extensive spreadsheets concerning those entities,

including account activity, deal status, pricing, business intelligence and other matters that

Mercer has made significant investments to compile and has explicitly marked “confidential”

and “not for distribution.” Weber Decl. Ex. A at 110, 113-14, 117-22; Ex. B. Further, contrary to

prior sworn testimony, DiGregorio concedes that he still possesses Mercer’s confidential

information on his Lockton and/or personal computers. Weber Decl. Ex. A at 157-64.

       This is not a case, as Defendants argue, in which mere lists of names or Outlook contacts,

are at issue. Rather, the documents that DiGregorio emailed to himself include complex

spreadsheets reflecting years of work and investment by his former Mercer colleagues, as well as

information that Defendants could not possibly “ascertain” from public sources, much less their

so-called “recollection” of work that they did not personally perform. Spreadsheets and

compilations of this type are properly viewed as confidential information that deserve the

Court’s protection. See Leo Silfen, Inc., v. Cream, 29 N.Y.2d 387, 392–93 (1972); Eastern Bus.

Sys., Inc. v. Specialty Bus. Solutions, 292 A.D.2d 336, 337–38 (2d Dep’t 2002); Giffords Oil Co.,

Inc. v. Wild, 106 A.D.2d 610 (2d Dep’t 1984); FMC Corp. v. Taiwan Tainan Giant Indus. Co.

Ltd., 730 F.2d 61, 63 (2d Cir. 1984).

       Indeed, DiGregorio admits that his reason for emailing these documents to himself was

“to have access to information relative to future clients” and that these documents “would be




                                               -7-
         Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 11 of 13



helpful in the future if [he] decided to leave” Mercer. Weber Decl. Ex. A. at 113-14, 173. If, as

Defendants assert, the spreadsheets DiGregorio emailed to himself contain only publicly

available information, DiGregorio would have no need to email himself these documents for

future use. Given DiGregorio’s admission, and Defendants’ solicitations, the Court should not

accept Defendants’ assertions that they do not plan to use Mercer’s confidential information.

II.     LOCKTON IS A PROPER PARTY TO THIS ACTION 4

        A.      Lockton is Connected to the Subject Matter of this Dispute

        Lockton contends that it has no connection with this dispute, nor contacts with the State

of New York. However, even the limited discovery adduced to date suggests that this is not

accurate, as numerous individuals who were involved in recruiting the Individual Defendants

publicly hold themselves out as employees of “Lockton,” “Lockton Companies,” or “Lockton

Companies, LLC.” Weber Decl. Ex. H. Sharma, who testified as Lockton’s corporate

representative, shed little light on Lockton’s corporate structure, alluding to an “overall,

overarching Lockton umbrella” entity that provides legal and other administrative services to the

Series entities in exchange for 10 percent of their revenue. Weber Decl. Ex. G at 8. Sharma

testified that Trey Humphrey, Lockton Inc.’s in-house counsel, would have been involved in

discussions with DiGregorio. Id. at 29.

        B.      Mercer is Likely to Succeed on the Merits of its Claims against Lockton

        As set forth in its moving brief, Mercer is likely to succeed on its claim against Lockton

for tortious interference with contract. By Sharma’s account, Lockton was aware of the

Individual Defendants’ restrictive covenants and retained counsel to advise them as early as

October 2017, approximately three months before they resigned from Mercer. Weber Decl. Ex.


4
 As Defendants have yet to answer the Complaint, Mercer intends to amend the Complaint as of right pursuant to
Fed. R. Civ. P. 15(a)(1) to add Lockton, Inc. and Lockton Southeast Series as Defendants as joint employer.




                                                     -8-
        Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 12 of 13



D at 27, 29. In addition, DiGregorio admits that he emailed confidential Mercer documents to his

personal account after he began employment discussions with Lockton in September 2017, and

that he did so because these documents “would be helpful in the future if I decided to leave”

Mercer. Weber Decl. Ex. A. at 173. The emailed documents included not only information

relative to existing clients, but to prospective Mercer business that had yet to be closed and might

easily be disrupted. Id. at 117-22.

       In response, Lockton conclusorily states that no Lockton entity received or used Mercer’s

information. Def. Mem. at 15. However, DiGregorio admitted at deposition that he not only

retained Mercer’s confidential informant but that it currently resides on his Lockton computer.

Weber Decl. Ex. at 82-84. Lockton obviously stands to benefit from the information improperly

retained by DiGregorio after they began recruiting him, and should not be excused from this

litigation merely because it summarily says it never “used” such information itself.

       Likewise, Mercer is likely to succeed on the merits of its unfair competition claim for the

reasons set forth in its moving brief. Mercer Mem. at 16-17. Defendants improperly cite cases

related to the misappropriation of trade secrets; these authorities are inapposite. Def. Mem. at 16-

17. The proper standard is whether “the defendant (1) misappropriated and used, (2) the

plaintiff’s property, (3) to compete against the plaintiffs’ use of the same property.” PLC

Trenching Co., LLC v. Newton, No. 6:11-CV-0515, 2011 WL 13135653, at *9 (N.D.N.Y. Dec.

12, 2011). Further, to the extent that some element of “bad faith” is required (Def. Mem. at 17),

one need only compare the conclusory declarations of the Individual Defendants with their

admissions at deposition that they retained confidential Mercer documents and selectively

targeted Mercer clients. Compare Weber Decl. Ex. A at 96 with 158-64. The facts adduced in

discovery to date amply show that Mercer is likely to succeed on its unfair competition claim.




                                                -9-
        Case 1:18-cv-01805-JGK Document 22 Filed 03/13/18 Page 13 of 13



III.   THE REQUESTED RELIEF IS APPROPRIATELY TAILORED TO PROTECT
       MERCER’S INTERESTS

       Finally, the restrictions that Mercer seeks to enforce are no greater than is required to

protect Mercer’s interests. Given DiGregorio’s retention of the “Florida Pipeline List,” which

describes recently closed Mercer deals as well as deals in process, he has gained knowledge of

many more Mercer clients and prospects than just those whom he personally serviced or solicited

while at Mercer. Weber Decl. Ex. A at 117-22. To the extent that such detailed information could

not possibly be deemed “publicly available,” and comprises far more than simple “rolodexes,”

Defendants’ reliance on Marsh USA, Inc. v. Alliant Ins. Servs. Inc. is misplaced. Def. Mem. at

19-20. Defendants should be enjoined from pursuing any of the Mercer clients or prospects

referenced in any of the Mercer materials that DiGregorio retained after joining Lockton.

                                          CONCLUSION

       For the foregoing reasons, and those set forth in its moving papers, Mercer respectfully

requests that the Court grant its motion for injunctive relief.

Date: March 13, 2018
      New York, New York
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